

Perri v Case (2022 NY Slip Op 04874)





Perri v Case


2022 NY Slip Op 04874


Decided on August 4, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 4, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, CENTRA, LINDLEY, AND BANNISTER, JJ.


562 CA 22-00035

[*1]MICHAEL PERRI, PLAINTIFF-RESPONDENT,
vMARK CASE, DOING BUSINESS AS CASE'S MINI STORAGE, BRIAN COOK AND JEFFREY COOK, DEFENDANTS-APPELLANTS. (APPEAL NO. 3.) 






REFERMAT HURWITZ &amp; DANIEL PLLC, ROCHESTER (JOHN T. REFERMAT OF COUNSEL), FOR DEFENDANT-APPELLANT MARK CASE, DOING BUSINESS AS CASE'S MINI STORAGE.
NIXON PEABODY LLP, ROCHESTER (ZACHARY C. OSINSKI OF COUNSEL), FOR DEFENDANTS-APPELLANTS BRIAN COOK AND JEFFREY COOK. 
SANTIAGO BURGER LLP, ROCHESTER (FERNANDO SANTIAGO OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeals from an order of the Supreme Court, Ontario County (J. Scott Odorisi, J.), entered December 30, 2021. The order, among other things, granted in part the motion of plaintiff to hold defendant Mark Case, doing business as Case's Mini Storage, in contempt. 
It is hereby ORDERED that said appeal by defendants Brian Cook and Jeffrey Cook is unanimously dismissed and the order is affirmed without costs.
Same memorandum as in Perri v Case ([appeal No. 1] — AD3d — [Aug. 4, 2002] [4th Dept 2022]).
Entered: August 4, 2022
Ann Dillon Flynn
Clerk of the Court








